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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION


BEVERLY HORN,                                    :
                                                 :       Case No. 1:06-CV-493
                       Plaintiff,                :
                                                 :       District Judge Susan J. Dlott
       v.                                        :
                                                 :
KMART CORPORATION,                              :        ORDER GRANTING
                                                 :       PLAINTIFF’S MOTION TO
                       Defendant.                :       REMAND AND REMANDING
                                                 :       THIS CASE
                                                 :
                                                 :
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       This matter comes before the Court on Plaintiff Beverly Horn’s Motion to Remand.

(Doc. 5.) Horn originally brought suit in the Hamilton County Court of Common Pleas in

Cincinnati, Ohio against Defendant Kmart Corporation (“Kmart”) for retaliation for submitting a

workers’ compensation claim in violation of Ohio Rev. Code § 4123.90 and common law

wrongful discharge in violation of Ohio public policy. Kmart then removed the suit to federal

court on the basis of diversity jurisdiction. See 28 U.S.C. § 1332. For the reasons that follow,

the Court hereby GRANTS Plaintiff’s motion to remand and remands this case to the Hamilton

County Court of Common Pleas.

I. Standard

       Generally, under 28 U.S.C. § 1441(a), a defendant may remove to federal court any case

filed in state court, if the case could have been brought in federal court originally. However, this


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general right to removal is limited by several exceptions. Subsection (c) of 28 U.S.C. § 1445

states that “[a] civil action in any State court arising under the workmen’s compensation laws of

such State may not be removed to any district court of the United States.” Thus, the issue before

the court is whether Horn’s suit “arises” under Ohio’s workers’ compensation laws.

II. Analysis

       “A civil action arises under a state workmen's compensation law when either (1) the

workmen's compensation law created the cause of action or (2) the plaintiff's right to relief

necessarily depends on resolution of a substantial question of workmen's compensation law.”

Harper v. AutoAlliance Int’l. Inc., 392 F.3d 195, 203 (6th Cir. 2004). The analysis under this

standard differs for a claim of retaliatory discharge in violation of a statute and a claim of

wrongful discharge in violation of public policy. Therefore, Horn’s claims will be discussed

separately, and then the question of whether the entire action should be remanded will be

addressed.

       A.      Retaliatory discharge in violation of Ohio Revised Code 4123.90

       Several cases in the Sixth Circuit have discussed whether a claim of retaliatory discharge

found in a workers’ compensation law arises under that law in the meaning of section 1441(c).

In Harper, the plaintiff brought numerous claims including retaliatory discharge in violation of

Michigan’s Workers’ Disability Compensation Act (“WDCA”), retaliatory discharge in violation

of Michigan public policy, and retaliatory discharge in violation of Title VII. Id. at 199.

Defendant removed the case to district court based on federal question jurisdiction and,




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subsequently, the plaintiff dropped his Title VII claim and moved to have the case remanded.1

Id. at 199-200.

       The Sixth Circuit affirmed the district court’s decision to deny the plaintiff’s request for

remand. Id. at 212. Though Michigan’s workers’ compensation scheme made it illegal to

retaliate against an employee who files a claim, the cause of action did not “arise” under the

workers’ compensation laws. First, the WDCA did not create the right because the statute did

not provide a remedy, and the court deduced that the Michigan legislature added the anti-

retaliation provision merely to codify the judicially created right. Id. at 203-204. Second, the

statutory retaliation claim did not depend on a “resolution of a substantial question of workmen’s

compensation law” because the statute did “not implicate the administrative or remedial

mechanisms of that statutory scheme, require courts to interpret the statute, or seek an award of

compensation for personal injury that causes a diminished wage-earning capacity. . .” Id. at 205.



       A district court in Kentucky came to the opposite conclusion about a cause of action for

retaliatory discharge under that state’s workers’ compensation laws. McCormick v. R.R.

Donnelly & Sons, 436 F. Supp. 2d 857, 859 (E.D. Ky. 2006). Analyzing the issue within the

Harper framework, the court concluded that the Kentucky workers’ compensation statute created

the retaliatory discharge action because the statute included a right and a remedy. Id.

       After reviewing the pleadings sua sponte, Judge Weber of the this court dismissed a case

for lack of subject matter jurisdiction in Hafner v. Cowan Sys. LLC, No. 1:04-CV-629, 2005 WL



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        The procedural history of this case is actually more complicated. However, only the
given facts are necessary for the purposes of this analysis.

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1417104 (S.D. Ohio June 16, 2005). In that case, the plaintiff claimed retaliatory discharge

under Ohio Rev. Code § 4123.90, breach of contract, disparate treatment, and violation of Ohio

public policy. Like the statute at issue in McCormick, the Ohio statute provided a right and a

remedy in situations of retaliatory discharge. Without considering Harper, the court concluded

that the retaliatory discharge claim arose under Ohio’s workers’ compensation laws because the

Ohio code prohibited retaliatory actions.

       Thus, a claim for retaliatory discharge based on a statute arises under the state’s workers’

compensation laws if the statute provides both the right and the remedy. A claim for retaliatory

discharge also arises under the state’s workers’ compensation laws if the plaintiff’s right to relief

is dependent “on resolution of a substantial question of workmen's compensation law.”

However, if the statute is merely a codification of a judicially created action and does not

provide a remedy, then the action does not arise under the state’s workers’ compensation laws.

       Ohio Rev. Code § 4123.90 provides in relevant part:

               No employer shall discharge, demote, reassign, or take any
               punitive action against any employee because the employee filed a
               claim. . . under the workers' compensation act. . . Any such
               employee may file an action in the common pleas court of the
               county of such employment in which the relief which may be
               granted shall be limited to reinstatement with back pay, if the
               action is based upon discharge, or an award for wages lost if based
               upon demotion, reassignment, or punitive action taken, offset by
               earnings subsequent to discharge, demotion, reassignment, or
               punitive action taken, and payments received pursuant to section
               4123.56 and Chapter 4141. of the Revised Code plus reasonable
               attorney fees. The action shall be forever barred unless filed within
               one hundred eighty days immediately following the discharge,
               demotion, reassignment, or punitive action taken, and no action
               may be instituted or maintained unless the employer has received
               written notice of a claimed violation of this paragraph within the
               ninety days immediately following the discharge, demotion,
               reassignment, or punitive action taken.

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Thus, the statute makes it unlawful to retaliate against an employee who files a claim under the

Ohio workers’ compensation scheme. In addition, the statute limits the available venue for such

an action, limits the amount recoverable, and requires notice within ninety days of a violation

and institution of the suit within 180 days of a violation. Thus, unlike the Michigan statute at

issue in Harper, the Ohio statute provides both a right and a remedy.

       Also unlike the circumstances in Harper, the Ohio statute was written before Ohio courts

recognized the common law tort of wrongful discharge. The Ohio Supreme Court did not

recognize wrongful discharge and it’s public policy exception to at-will employment until 1990.

See Greeley v. Miami Valley Maintenance Contractors, Inc., 551 N.E.2d 981, 986 (Ohio 1990)

(recognizing a public policy exception to at-will employment doctrine for discharging an

employee based on a child support withholding order).2 At that time, section 4123.90 already

made it unlawful to retaliate against an employee who files a workers’ compensation claim. See

1989 Session Laws and Resolutions, Amended Substitute House Bill Number 222, effective

November 3, 1989 (making minor changes to § 4123.90).

       Therefore, Horn’s claim for retaliatory discharge in violation of Ohio Rev. Code §

4123.90 arises under the workers’ compensation laws of Ohio. The Ohio statute was enacted

prior to the Ohio judiciary’s recognition of an exception to at-will employment, and the statute

defines the remedy, as well as the right. Under the first prong of the Harper test, the claim for

retaliatory discharge arises under the workers’ compensation laws of Ohio because the statute

created the cause of action.


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        Overruled in part by Tulloh v. Goodyear Atomic Corp., 584 N.E.2d 729 (Ohio 1992) on
other grounds.

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         B.       Wrongful discharge in violation of Ohio public policy

         In Harper, the Sixth Circuit also analyzed a claim for retaliatory discharge in violation of

Michigan’s public policy and found that it also did not “arise” under Michigan’s workers’

compensation laws. Harper, 392 F.3d at 205-08. The claim was not dependent on the

Michigan’s workers’ compensation laws, but, rather, was dependent upon the “Michigan courts’

recognition of an exception to the employment at-will doctrine for discharges that violate public

policy.” Id. at 207. The court also stated, “just because there is a “but for” relationship between

Michigan’s workers’ compensation statute and the common law cause of action for retaliation in

violation of public policy, it does not follow that the common law tort claim arises under that

statute.” Id. at 206. Thus, a claim that is dependent upon a judicial recognition of an exception

to at-will employment does not arise under a state’s workers’ compensation laws.

         As previously noted, the Supreme Court of Ohio recognized the common law action of

wrongful discharge in 1990.3 See Greeley, 551 N.E.2d at 986. The court stated, “the time has

come for Ohio to join the great number of states which recognize a public policy exception to the

employment-at-will doctrine. The General Assembly has expressed its will that employers be

prohibited from discharging employees for the reason upon which appellant bases his cause of

action. It is our job to enforce, not frustrate, that policy.” Id. Since then, several Ohio appellate

courts have recognized wrongful discharge claims based on Ohio Rev. Code § 4123.90. See,

e.g., Limbacher v. Penn-Ohio Oil Co., No. 2001 AP 07 0065, 2002 WL 1232935, *5 (Ohio App.

May 31, 2002); Boyd v. Winton Hills Med. & Health Ctr. Inc., 727 N.E.2d 137, 144 (Ohio App.

1999).

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             Such a discharge was in direct contravention of O.R.C. § 3113.213(D).

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        The Ohio common law claim for wrongful discharge is indistinguishable from the claim

of retaliatory discharge in violation of public policy at issue in Harper. Horn’s claim is not

created by Ohio’s workers’ compensation laws, and Horn’s right to relief is not dependent upon

the resolution of a substantial question of workers’ compensation law, but instead is dependent

upon judicial recognition of an exception to at-will employment. Therefore, Horn’s claim for

wrongful discharge in violation of Ohio public policy does not arise under Ohio’s workers’

compensation laws.

        C.      Remand

        The United States Code prohibits actions that arise under a state’s workers’ compensation

laws from being removed to federal court. See 28 U.S.C. § 1445(c). Under the Sixth Circuit’s

Harper test, one of Horn’s claims arises under Ohio’s workers’ compensation laws and one does

not. Therefore, the question becomes whether any, all, or part of Horn’s suit should be

remanded to state court. The few district courts that have addressed this question have remanded

the entire action. See, e.g., Allsup v. Liberty Mut. Ins. Co., 782 F. Supp. 325, 328, 329 (W.D.

Tex. 1991) (“If the entire case was not removable, the entire case was subject to remand”);

Wilson v. Lowe’s Home Center, Inc., 401 F. Supp. 2d 186, 197 (D. Conn. 2005); see also

Edward Hartnett, A New Trick from an Old and Abused Dog: Section 1441(c) Lives and Now

Permits the Remand of Federal Question Cases, 63 Fordham L. Rev. 1099 (1995) (arguing that a

district court must remand an entire case that includes a claim outside the court’s jurisdiction).

In concurrence with those decisions, this Court concludes that the language and purpose of 28

U.S.C. § 1441, and the dictates of economy, efficiency, and fairness weigh in favor of remanding

the entire action.


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       As with all questions of statutory interpretation, the analysis of this issue must begin with

the language of the statute. Section 1441(a) states, “Except as otherwise expressly provided by

Act of Congress, any civil action brought in a State court of which the district courts of the

United States have original jurisdiction may be removed....” 28 U.S.C. § 1441(a) (emphasis

added). The phrase “civil action” usually refers to an entire case, and the phrase was specifically

used to comport with Rules 2 and 81(c) of the Federal Rules of Civil Procedure. See Revision

Notes, 28 U.S.C.A. § 1441 (1948). Rule 2 provides that “[t]here shall be one form of action to

be known as a “civil action””, and Rule 81(c) distinguishes between a “civil action” and a

“claim.” Thus, 1441(a) provides a general right to remove an entire case or “civil action.”

Accord Wilson, 401 F. Supp. 2d at 193.

       Section 1445(c), however, limits this right and prohibits removal of “any civil action...

arising under the workmen’s compensation laws.” 28 U.S.C. § 1445(c) (emphasis added). Thus

this section operates as an express exception to the general grant of removal in 1441(a). Removal

would only be appropriate if the legislature provided an additional grant of removal jurisdiction.

Currently, section 1441(c) only permits removal of an action containing a nonremovable claim if

the claim is joined with a “separate and independent” claim within the federal question

jurisdiction conferred by 28 U.S.C. § 1331. Kmart’s basis for removal was diversity jurisdiction,

not federal question jurisdiction. Therefore, the language of 1441(c) suggests that the entire case

be remanded.

       Remand of the entire case would also serve the underlying policies of section 1441. The

legislative history shows that Congress enacted 1445(c) in order to serve two policies. First,

Congress sought to decrease the number of cases in federal court based on diversity jurisdiction.


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Second, Congress wanted to “relieve workers of the expense and delay of litigating in federal

court.” Wilson, 401 F. Supp. 2d at 196; see also S. Rep. No. 85-1830 (1958), reprinted in 1958

U.S.C.C.A.N. at 3105; Horton v. Liberty Mut. Ins. Co., 367 U.S. 348, 351-52 (1961). If the case

or part of it remained in federal court, neither of these policies would be furthered. Furthermore,

future plaintiffs would be forced to choose between pleading related state law claims and

litigating in federal court, or omitting these claims in order to stay in state court. See Wilson,

401 F. Supp. 2d at 196. These alternatives are unfair when viewed in light of the policies

underlying section 1441.

       Finally, this case should be remanded in its entirety, because to sever the claims would be

inefficient, unfair, and uneconomical. The Western District of Texas explained this point quite

well: “[T]he dictates of comity and judicial economy are compelling... Despite the fact that no

issue of supplemental or pendant jurisdiction exists, in the words of United Mine Workers v.

Gibbs, the two claims are based on “a common nucleus of operative fact,” 383 U.S. 715 (1966);

they “form part of the same case or controversy,” see 28 U.S.C. § 1367, and should be tried

together.” Accord Wilson, 401 F. Supp. 2d at 196; Hummel v. Kamehameha Sch./Bernice

Pauahi Bishop Estate, 749 F. Supp. 1023, 1030 (D. Hawai’i 1990) (“Since remand of plaintiff’s

non-removable retaliatory discharge claim is warranted, principles of judicial economy and

comity support the remand of her other state law claims as well.”). Severance of the plaintiff’s

claims would result in unnecessary and duplicative litigation. Considerations of efficiency,

fairness, and economy weigh in favor of remanding the entire case.

       Therefore, the Court concludes that because Horn’s claim for retaliatory discharge arises

under the workers’ compensation laws of Ohio, the entire case should be remanded in


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accordance with the language and policies of 28 U.S.C. § 1441 and the dictates of efficiency,

fairness and economy.

III. Conclusion

       For the foregoing reasons, the Court GRANTS Plaintiff Horn’s motion and REMANDS

this case for lack of subject matter jurisdiction to the Hamilton County Court of Common Pleas.

       IT IS SO ORDERED.



                                                    S/Susan J. Dlott____________

                                                    Susan J. Dlott

                                                    United States District Judge




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